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                   EXHIBIT H
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INFRINGEMENT CLAIM CHART: claims of US Patent No. 12,108,889
Claim 1
[1.p.] A repositionable
frame system
comprising:


[1.1] a repositionable
wall mount configured
for being repositionably
secured to a support                                                               Support surface
surface,




                                                                                      Repositionable
                                                                                      wall mount




                           https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles




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[1.2] the repositionable
wall mount including a
first magnetic element;
and                                                                                     Repositionable
                                                                                        wall     mount
                                                                                        having a first
                                                                                        magnetic
                                                                                        element


                            https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles
[1.3] a frame having a
rear face that includes a
second magnetic                                                                         Frame front
element that is                                                                         face
magnetically attracted to
the first magnetic
element resulting in a                                                                 Frame     rear
magnetic coupling                                                                      face
between the frame and
the repositionable wall
mount;                                                                                First magnetic
                                                                                      element        of
                                                                                      repositionable
                                                                                      wall mount


                                                                                      Second
                                                                                      magnetic
                                                                                      element


                                                                                      First       and
                                                                                      second
                                                                                      magnetic
                                                                                      elements
                                                                                      magnetically
                                                                                      coupled
                                                                                      together


                            https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles

                                                     2
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[1.4] Wherein the frame
has a border frame                                                               Frame border frame
section that defines an                                                          section (rectangular
outer periphery of the                                                           brown border on four
frame,                                                                           sides on upper front
                                                                                 side image); three
                                                                                 sides shown on lower
                                                                                 rear side image




                             https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles
[1.5] The rear face of the
frame including a center
section disposed internal                                                         Rear face frame
to the border frame                                                               center      section
section which protrudes                                                           internal to border
outwardly from the                                                                frame (three sides
center section,                                                                   shown on image)



                             https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles
[1.6] the second
magnetic element being                                                             Second magnetic
located within the center                                                          element located
section and being offset                                                           within   center
and spaced from the                                                                section
border frame section so
as to define a border                                                              Border       frame
area that surrounds the                                                            section/border
second magnetic                                                                    area

                                                      3
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element and extends         https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles
from an outer peripheral
edge of the second
magnetic element to the
border frame section;
wherein the
repositionable wall
mount includes a layer of
foam; a repositionable
adhesive coated over the
layer of foam and
configured for contacting
the support surface and
allowing repositioning of
the repositionable wall
mount; and a
magnetically receptive
rubber layer that is
permanently bonded to
the layer of foam.




                            Layer of foam
                            Repositionable adhesive
                            Magnetically receptive rubber layer


                            (sample cross section of a Mixtiles Magnetic Sticky)
17. The frame system of     See elements [1.4], [1.5], [1.6] above
claim 1, wherein the
border area completely
surrounds the second
magnetic element.
18. The frame system of     See elements [1.4], [1.5], [1.6] above
claim 1, wherein an area
of the border area is
                                                      4
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greater than an area of
the second magnetic
element.
19. The frame system of
claim 1, further including
an image that seats
against the border frame
section and is disposed
between a front face of
the border frame section
and a rear face of the
border frame section.




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